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                          UNITED STATES DISTRICT COURT
  9
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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 11   Lee Wigod, individually and on behalf
      of all others similarly situated,          Case No. 2:19-cv-02874-SVW-MAA
 12
                               Plaintiff,
 13                                              [PROPOSED] ORDER GRANTING
            v.                                   JOINT STIPULATION TO
 14                                              CONTINUE HEARING RE:
      CallFire, Inc., a Delaware corporation,    DEFENDANT’S MOTION TO
 15                                              DISMISS (DKT. 17.)
                               Defendant.
 16                                                   Judge: Hon. Stephen V. Wilson
 17                                               Complaint Filed: April 15, 2019
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 28   [PROPOSED] ORDER GRANTING JOINT
      STIPULATION TO CONTINUE HEARING           -1-
      RE: DEFENDANT’S MOTION
      TO DISMISS (DKT. 17.)
Case 2:19-cv-02874-SVW-MAA Document 20-1 Filed 05/29/19 Page 2 of 2 Page ID #:99



  1         Pursuant to the parties’ May 29, 2019 Joint Stipulation to Continue Hearing
  2   re: Defendant’s Motion to Dismiss (Dkt. 17), and good cause appearing, it is hereby
  3   Ordered:
  4         1.    That the hearing on Defendant’s Motion to Dismiss set for June 24,
  5               2019 is vacated and reset to July 15, 2019, at 1:30 p.m.
  6   IT IS SO ORDERED.
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  9   Dated: ______________, 2019
                                                    Hon. Stephen V. Wilson
 10                                                 United States District Judge
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 28   [PROPOSED] ORDER GRANTING JOINT
      STIPULATION TO CONTINUE HEARING         -2-
      RE: DEFENDANT’S MOTION
      TO DISMISS (DKT. 17.)
